          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                         CRIMINAL NO. 1:00CR9


UNITED STATES OF AMERICA                 )
                                         )
                                         )
                 VS.                     )           ORDER
                                         )
                                         )
THOMAS RUTHERFORD CARSON                 )
                                         )


     THIS MATTER is before the Court on the Defendant’s pro se motion

for modification or reduction of sentence pursuant to 18 U.S.C. §

3582(c)(2) and the recent Amendments to the Sentencing Guidelines

regarding crack cocaine offenses. The motion is denied.

     On June 13, 2008, counsel appointed by the Court filed a motion on

the Defendant’s behalf seeking a reduction of his sentence pursuant to the

amended Guidelines. See Defendant’s Motion for Reduction of

Sentence pursuant to 18 U.S.C. § 3582(c)(2), filed under seal June 13,

2008. After receipt of the supplemental presentence report, the Court

determined that the Defendant was not eligible for a sentence reduction

due to the fact that he was found to be a career offender at the original




   Case 1:00-cr-00009-MR-DLH    Document 728    Filed 01/15/09   Page 1 of 2
                                      2

sentencing and that “the resulting offense level for a career offender is

greater than the offense level for the quantity of drugs found both at the

date of the original sentencing and following the passing of the retroactive

crack cocaine amendment,” and the Defendant’s motion was denied.

Order Regarding Motion for Sentence Reduction Pursuant to 18

U.S.C. § 3582(c)(2), filed November 13, 2008. On November 25, 2008,

the Defendant timely appealed the Court’s ruling and the appeal is

currently pending with the Fourth Circuit Court of Appeals.1

      IT IS, THEREFORE, ORDERED that the Defendant’s pro se motion

for modification or reduction of sentence is hereby DENIED as moot.

                                      Signed: January 15, 2009




      1
       The Court notes that the Defendant is represented by a federal
defender. The Defendant is advised that he should communicate with the
Court only through his attorney. United States v. D’Amario, 2008 WL
624768 at *1, 2008 U.S. App. LEXIS 5079 at *4 (3d Cir. 2008) (holding
that district courts are not obligated to consider pro se motions from
a defendant who is represented by counsel because “[t]he
Constitution does not confer a right to proceed simultaneously by
counsel and pro se”).


   Case 1:00-cr-00009-MR-DLH    Document 728     Filed 01/15/09   Page 2 of 2
